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                                  OFFICE OF THE CLERK
                              UNITED STATES DISTRICT COURT
                                 Northern District of California

                                       CIVIL MINUTES
 Date: July 15, 2022                Time: 10:24-10:55               Judge: EDWARD M. CHEN
                                          31 Minutes


 Case No.: 21-cv-09700-EMC          Case Name: Mewawalla v. Middleman


Attorney for Plaintiff: Patrick Kitchin
Attorneys for Defendant: Arash Beral and Craig Haring

 Deputy Clerk: Vicky Ayala                              Court Reporter: Belle Ball
                                       PROCEEDINGS
Motion to Dismiss - held
                                          SUMMARY
Parties stated appearances.
        Mewawalla filed this lawsuit against Freedom Mortgage and Xpanse (“Defendants”),
alleging breach of an employment agreement, among other claims. Defendants counterclaimed,
alleging breach of the same employment agreement and breach of fiduciary duties. According to
Defendants, there was no enforceable contract with Xpanse, but even if there was such a
contract, Mewawalla breached it first.

        Mewawalla seeks to dismiss Defendants’ counterclaims on ripeness and Article III
standing grounds because Defendants merely allege that Xpanse might be determined to have
been a party to a contract. Docket No. 22 at 8. However, this argument fails because
Defendants’ allegations are permissible as alternative theories; Defendants can properly assert
that there was no binding contract but if there were, it was Mewawalla, not Xpanse, who
breached the contract. See Cellars v. Pac. Coast Packaging, Inc., 189 F.R.D. 575, 578 (N.D.
Cal. 1999) (“A party may plead alternative theories of liability, even if those theories are
inconsistent or independently sufficient.”). Mewawalla next argues that the Court lacks subject
matter jurisdiction regarding Defendants’ claim for declaratory relief (that his sole remedy is
severance benefits under a General Release of claims) because the employment agreement does
not in fact require him to sign such a document. However, this is an argument on the merits
rather than a jurisdictional issue. As such, Mewawalla’s argument that the Court lacks subject
matter jurisdiction to hear Defendants’ claims also fail.

        On the merits, Defendants have sufficiently stated a claim for breach of contract by
alleging (a) the existence of the employment agreement as an alternate theory, (b) Defendants’
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performance except those excused by Mewawalla’s breach, (c) Mewawalla’s breach by failing to
perform his duties and repay his signing bonus under the employment agreement, and (d)
damages under the contract, such as payment under the contract and other possible non-monetary
damages. Oasis West Realty, LLC v. Goldman, 51 Cal.4th 811, 821 (2011); Docket No. 20 at 48-
49. Defendants have also sufficiently stated a claim of declaratory relief by alleging that a
General Release is required under the employment agreement.

        However, the Court finds that Defendants have not stated a claim of breach of fiduciary
duty. Defendants’ claim is premised on (1) Mewawalla’s alleged fraudulent inducement of the
employment agreement by lying on his resume and (2) his lack of care in management and abuse
of power with regard to his employees. Although Mewawalla became a fiduciary upon obtaining
managerial authority at Freedom Mortgage (and Xpanse), the alleged fraudulent act occurred
prior to obtaining his duty. The alleged mismanagement of his employees does not rise to the
level of a breach of fiduciary duty.

       As such, the Court DENIES Mewawalla’s motion to dismiss Defendants’ claims of
breach of contract and declaratory relief. The Court GRANTS Mewawalla’s motion to dismiss
Defendants’ claim of breach of fiduciary duty with leave to amend within thirty (30) days of this
order.
